    2:18-mn-02873-RMG           Date Filed 12/19/23       Entry Number 4276      Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                             )
IN RE: AQUEOUS FILM-FORMING                  )   MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                     )
LITIGATION                                   )   CASE MANAGEMENT ORDER NO. 26.C
                                             )
                                             )   This Order Relates to All Actions
                                             )

                    CORE DISCOVERY IN INITIAL PERSONAL INJURY
                       BELLWETHER DISCOVERY POOL CASES

       The Court hereby CONFIRMS the parties’ submission of proposed initial personal injury

bellwether cases (Dkt. No. 4211) and issues the following Case Management Order (“CMO”) to

govern Core Discovery in the Initial Personal Injury Bellwether Discovery Pool cases selected

pursuant to CMO-26. Following Core Discovery (a/k/a Tier One) in the Initial Personal Injury

Bellwether Discovery Pool Plaintiffs cases, the Parties and Court will narrow the Initial Personal

Injury Bellwether Discovery Pool Plaintiffs to a set of “Initial Personal Injury Bellwether Trial

Pool Plaintiffs” or “Personal Injury Tier Two” cases. Thereafter, the Tier Two cases will undergo

additional discovery to become trial ready, including expert reports, expert discovery, and

dispositive motions practice, with the Court setting a trial date for the first personal injury

bellwether trial. The process shall proceed as follows:

       A.      Core Discovery Of Initial Personal Injury Bellwether Discovery Pool Plaintiffs

               1.     The Parties shall conduct Core Discovery as to the Initial Personal Injury

       Bellwether Discovery Pool Plaintiffs from three (3) business days after the Court enters an

       order confirming selections through twenty-four (24) weeks after the Court enters an order

       confirming selections.




                                                 1
2:18-mn-02873-RMG         Date Filed 12/19/23      Entry Number 4276        Page 2 of 5




         2.      In accordance with CMO 26 ¶ B.4, should any Initial Personal Injury

  Bellwether Discovery Pool Plaintiff dismiss all or part of his or her action following

  selection, such dismissal shall be with prejudice, absent agreement of the Parties or some

  special circumstances that may be presented to the Court if the Parties cannot agree.

  Further, should any Initial Personal Injury Bellwether Discovery Pool Plaintiff dismiss

  his/her case or the claim that rendered him or her eligible for the Initial Personal Injury

  Bellwether Discovery Pool for any reason prior to February 9, 2024, Defendants may (but

  are not required to) select a replacement plaintiff for each dismissed Personal Injury

  Bellwether Discovery Pool Plaintiff by no later than February 23, 2024.

         3.      Core Discovery pertaining to the Initial Personal Injury Bellwether

  Discovery Pool Plaintiffs shall consist of:

              i. Collection of records pursuant to authorizations provided by the Initial
                 Personal Injury Bellwether Discovery Pool Plaintiffs. Pursuant to
                 Paragraph 21 of CMO 5, Defense Co-Leads may request such additional
                 authorizations as may be necessary to obtain documents in addition to those
                 for which production is expressly provided pursuant to the medical record
                 and water and utility company record authorizations required as part of the
                 Plaintiff Fact Sheet process. In order to expedite Tier 1 discovery, the
                 Parties agree that, following selection as an Initial Personal Injury
                 Bellwether Plaintiffs, each such Plaintiff’s deadline to provide an executed
                 authorization or object in writing to any request from Defendants’ Liaison
                 Counsel for “special” or additional authorizations under CMO 5 ¶¶ 20-21
                 shall be seven (7) days.

                 ii. Initial Personal Injury Bellwether Discovery Pool Requests for
                     Production and Interrogatories, to be served by the PEC and Defense
                     Co-Lead Counsel, respectively, upon all parties to cases involving the
                     Initial Personal Injury Bellwether Discovery Pool Plaintiffs, as follows:

                         1. Not to exceed 20 requests for production and 20 interrogatories,
                            including discrete subparts, directed to each party participating
                            in the Initial Personal Injury Bellwether Pool;

                         2. In any document productions made in response to the Initial
                            Personal Injury Bellwether Discovery Pool Requests for each
                            case, production shall be substantially completed within 45 days

                                           2
2:18-mn-02873-RMG    Date Filed 12/19/23      Entry Number 4276          Page 3 of 5




                        of service of the requests or, if applicable, 45 days after
                        agreement on necessary search terms for such Requests.


                    3. To the extent that any request for production or interrogatory
                       calls for responses specific to any/all individual Discovery Pool
                       Plaintiff or Defendant, responses shall be provided as necessary
                       for each individual Plaintiff or Defendant. Such requests do not
                       constitute separate requests or subparts for purposes of the
                       presumptive limit of 20 requests discussed above.

                    4. Nothing in this Order precludes Defendants from seeking an
                       independent medical examination or to obtain blood or other
                       samples, but such examinations shall be the subject of a meet
                       and confer and, if necessary, a further Case Management Order.

            iii. The presumptive limit on depositions shall be as set forth below. Should
                 a party assert that additional depositions beyond this presumptive limit
                 are necessary for the Core Discovery Phase, the Parties shall meet and
                 confer and promptly raise any disputes with the Court as necessary:

                    1. Party Depositions

                        Defendants shall presumptively be entitled to depose a Plaintiff
                        and one other loss of consortium or derivative claimant, spouse,
                        partner or other fact witness in each case, for a total of two such
                        depositions per case.

                        Plaintiffs, collectively, shall presumptively be limited to two
                        depositions of each Defendant related to case-specific matters
                        only.

                        The Parties must confer on noticing and scheduling of such
                        depositions, absent special circumstances.

                    2. Non-Party Depositions

                        The Parties shall cooperate and coordinate the taking of relevant
                        non-party depositions that shall presumptively be limited to one,
                        but if special circumstances exist, no more than two depositions
                        of relevant healthcare provider(s) per Plaintiff, and eight
                        witnesses related to AFFF and/or water contamination for each
                        of the sites set forth in Section A.1 of CMO-26.

                        To the extent a plaintiff is alleging property damage claims, the
                        Parties shall cooperate and coordinate the taking of one (1)
                        additional non-party deposition related to that claim.

                                       3
  2:18-mn-02873-RMG           Date Filed 12/19/23       Entry Number 4276          Page 4 of 5




                                 Neither side may issue deposition notices for any third-party
                                 deposition absent agreement and must first meet and confer and
                                 must promptly submit any disputes over the deposition of third-
                                 parties to the Court. The Parties are not limited in their ability
                                 to seek production of documents from third-parties subject to
                                 applicable Federal Rules.

                    iv. Failure of a party to take any of the depositions permitted in Core
                        Discovery pursuant to Paragraph C.4.iii shall not constitute a waiver of
                        a party’s ability to seek such deposition in subsequent discovery as to
                        Initial Personal Injury Bellwether Trial Pool Plaintiffs.

                     v. For good cause shown and following a meet and confer process with the
                        relevant parties to a particular bellwether case, the Parties may seek
                        agreement or leave of Court to pursue additional case-specific
                        discovery.

     B.      Further Personal Injury Bellwether Proceedings.

             1.      Following completion of Core Discovery in the Initial Personal Injury

     Bellwether Discovery Pool Cases, the Court shall narrow the Bellwether Individual

     Personal Injury Discovery Cases to a smaller pool of Tier 2 plaintiffs. These Tier 2

     plaintiffs will then undergo preparation for trial, including additional fact discovery, expert

     discovery, and dispositive and trial-related motion practice. The Parties shall meet and

     confer and endeavor to submit a proposed Case Management Order by which Tier 2 cases

     will be selected followed by a process to select the final trial cases at a later date.

             2.      By no later eight (8) weeks prior to the end of the Tier 1 Discovery period

     set forth above, the Parties shall propose a process for selecting the Initial Personal Injury

     Bellwether Trial Pool Plaintiffs, as well as a schedule for completing such further discovery

     and trial preparation, up to the selection of the first personal injury bellwether trial.



IT IS SO ORDERED.




                                                4
   2:18-mn-02873-RMG        Date Filed 12/19/23   Entry Number 4276        Page 5 of 5




Dated: December 19, 2023                             s/Richard M. Gergel
      Charleston, South Carolina                     Hon. Richard M. Gergel
                                                     United States District Judge




                                          5
